          Case 6:21-cv-06323-CJS Document 2 Filed 04/19/21 Page 1 of 2



IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

               v.                                                                  6323
                                                                            21-CV-__________

$8,040.00 UNITED STATES CURRENCY

                  Defendant.
______________________________________________

                               ARREST WARRANT IN REM

TO:    THE UNITED STATES MARSHALS SERVICE OF THE WESTERN DISTRICT
       OF NEW YORK AND/OR ANY OTHER DULY AUTHORIZED LAW
       ENFORCEMENT OFFICER:

       WHEREAS, a Verified Complaint of Forfeiture has been filed on April 16, 2021, in
the United States District Court for the Western District of New York, by James P. Kennedy,
Jr., United States Attorney, on behalf of the United States of America, plaintiff, alleging that
the defendant currency is subject to seizure and forfeiture to the United States pursuant to 21
U.S.C. §881(a)(6).

      YOU ARE, THEREFORE, HEREBY COMMANDED to arrest and seize the
defendant currency, and use discretion and whatever means appropriate to protect and
maintain said defendant currency; and

        YOU ARE FURTHER COMMANDED to provide notice of this action to all persons
thought to have an interest in or claim against the defendant currency, and that you promptly,
after execution of this process, file the same in this Court with your return thereon.

        All persons asserting an interest in the defendant currency and who have received
direct notice of the forfeiture action must file a Verified Claim with the Clerk of this Court
pursuant to Rule G(5) of the Supplemental Rules for Admiralty or Maritime Claims and Asset
Forfeiture Actions, thirty-five (35) days after the notice is sent; or if notice was published but
direct notice was not sent to the claimant or the claimant=s attorney, a claim must be filed no
later than thirty (30) days after final publication of newspaper notice or legal notice or no later
than sixty (60) days after the first day of publication on an official internet government
forfeiture site; or within the time that the Court allows, provided any request for an extension
of time from the Court is made prior to the expiration of time which the person must file such
verified claim. In addition, any person having filed such a claim shall also serve and file an
answer to the complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure
within twenty-one (21) days after filing the claim, and any person having timely filed such
claim and answer must appear before this Court, at Rochester, New York on a date
determined by the Court.
          Case 6:21-cv-06323-CJS Document 2 Filed 04/19/21 Page 2 of 2



              SEE REVERSE SIDE FOR ADDITIONAL INFORMATION

        Supplemental Rule G(5) provides in pertinent part: AThe Claim must: (A) identify the
specific property claimed; (B) identify the claimant and state the claimant=s interest in the
property; (C) be signed by the claimant under penalty of perjury; and (D) be served on the
government attorney designated under Rule G(4)(a)(ii)(C) or (b)(ii)(D).

       All persons asserting an interest in the defendant currency are required to file a Claim
in the Clerk's Office and to answer the Complaint within the times above fixed: otherwise,
judgment by default will be filed for the relief demanded in the complaint.

        Claims and Answers are to be filed with the Clerk, United States District Court for the
Western District of New York, 2120 U.S. Courthouse, 100 State Street, Rochester, New York
14614 with a copy thereof sent to Assistant United States Attorney Grace Carducci, 100 State
Street, Suite 500, Rochester, New York 14614.

      This warrant is issued pursuant to Rule G(3) of the Supplemental Rules for
Admiralty or Maritime Claims and Asset Forfeiture Actions of the Federal Rules of Civil
Procedure.



   WITNESS THE HONORABLE                          UNITED STATES DISTRICT JUDGE AT
     Charles J. Siragusa                              Western District of New York

   DATE                                           CLERK
             4/19/2021
                                                  (BY) DEPUTY CLERK
                                                       Tricia M. Frisa



                               Returnable   75   days after issue


                           United States Marshals Service's Return


   DISTRICT                                  DATE RECEIVED           DATE EXECUTED



   US MARSHAL                                (BY) DEPUTY MARSHAL
